




Dismissed and Memorandum Opinion filed October 2, 2008








Dismissed
and Memorandum Opinion filed October 2, 2008.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-08-00878-CR

____________

&nbsp;

DANIEL WRIGHT,
Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the 262nd District Court

&nbsp;Harris County, Texas

Trial Court Cause No. 1163600

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Appellant
entered a Aguilty@ plea to driving while intoxicated.&nbsp; In accordance with the terms of a
plea bargain agreement with the State, the trial court sentenced appellant on
July 31, 2008, to confinement for ten years in the Institutional Division of the
Texas Department of Criminal Justice, suspended for ten years, and assessed a
fine of $500.&nbsp; No timely motion for new trial was filed.&nbsp; Appellant=s pro se notice of appeal was not
filed until September 19, 2008. 








A
defendant=s notice of appeal must be filed within thirty days after sentence is
imposed when the defendant has not filed a motion for new trial.&nbsp; See Tex. R. App. P. 26.2(a)(1).&nbsp; A notice
of appeal that complies with the requirements of Rule 26 is essential to vest
the court of appeals with jurisdiction.&nbsp; Slaton v. State, 981 S.W.2d
208, 210 (Tex. Crim. App. 1998).&nbsp; If an appeal is not timely perfected, a court
of appeals does not obtain jurisdiction to address the merits of the appeal.&nbsp;
Under those circumstances it can take no action other than to dismiss the
appeal.&nbsp; Id.

Moreover,
the trial court entered a certification of the defendant=s right to appeal in which the court
certified that this is a plea bargain case, and the defendant has no right of
appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp;
The trial court=s certification is included in the record on appeal.&nbsp; See
Tex. R. App. P. 25.2(d).&nbsp; The
record supports the trial court=s certification.&nbsp; See Dears v. State, 154 S.W.3d 610,
615 (Tex. Crim. App. 2005).

For
these reasons, the appeal is ordered dismissed.&nbsp; 

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum Opinion filed October
2, 2008.

Panel consists of Chief Justice Hedges, Justices
Anderson and Frost. 

Do Not Publish C Tex. R. App. P.
47.2(b)





